 

. Case 6:Q6-cv-01004-BB-WPL Rogument 1 Filed 10/17/06 Page1of8
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- Full Name/Prisoner Number

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Complete Mailing Address USES) G0 RLY ie

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IN THE UNITED STATES DISTRICT COURT _
FOR THE DISTRICT OF NEW MEXIC€GFi A GUERQUE:

Civil Wind 6-1004 BB Wee a

(To be supplied by the Court)

 

 

 

A anciio &. deevega TI

, Plaintiff(s),

 

Full name(s) and prisoner number(s)
(Do not use et al.)

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Ae\c. Re re é Defendant(s).
(Do not use et al.)

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KeGis kay Nume, Luke LUSAN, DoctoR Phithe Ruiz Md
PRISONER’S CIVIL RIGHTS COMPLAINT

A. PARTIES AND JURISDICTION

ecnacta €. Uecrero Wh isa citizen of New Wie vivo who
~~ (Plaintiff) (State) -

presently resides at D.N-M. Level & Frac iy

(mailing address or place of confinement)

 

 

 

 

CORP.
2. Defendant \wey Cord Peckeol Sex dees is a-citizert of N . M '
(name of first defendant) (State)
whose address is P.O. QOK LOS Santatd2, WM ssc
and who is employed as Medieok Pro SAO . At the time the -claim(s)

 

(ttle and place of employment)
 

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‘alleged in this complaint arose, was this defendant acting under color of state law?

Yes No. If your answer is "Yes," briefly explain:
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macduca| Care to Vag Tarnates at PNM.

3. Defendant Wedende Singh is a citizen of nM '

(name of second defendant) (State)
whose address is PNW. 00. AQC LOS% Sania Fe, fm. SIS04

and who is employed as Medeal durector _ At the time the claim(s)
(title and place of employment)

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alleged in this complaint eee was this defendant acting under color of state law?
f.Yes No. If your answer is "Yes," briefly explain:

Quer seen Medics | Carte for Tamales ab P.M

 

(If more space is needed to furnish the above information for additional defendants, continue on a blank
sheet which you should label "A. PARTIES." Be sure to include each defendant’s complete address

and title.)

(CHECK ONE OR BOTH:) °
Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (for state defendants) or Bivens v. Six
Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (for

federal defendants).
Jurisdiction also is invoked pursuant to 28 U.S.C. § 1343(a)(3). Uf you wish to assert

jurisdiction under different or additional statutes, you may list them below.)

 

 

B. NATURE OF THE CASE

BRIEFLY state the background of your case.
Case 6:06-cv-01004-BB-WPL Document1 Filed 10/17/06 Page 3 of 8

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Date:

 

 

 

 

 

 

 

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C. CAUSE OF ACTION

I allege that the following of my constitutional rights, privileges, or immunities have been violated and -
that the following facts form the basis of my allegations: (If more space is needed to explain any
allegation or to list additional supporting facts, continue on a blank sheet which you should label "D.

CAUSE OF ACTION.")
Claim I: Tolure bo Dauide Prope y Medical Cove

 

 

Supporting Facts: (Include all facts you consider important, including names of persons involved,
places, and dates. Describe exactly how each defendant is involved. State the facts clearly in your own
words without citing legal authority or argument.) Feet Hh, Atd tat fo\lowd Proper madtea |
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Claim IT:

 

 

 

Supporting Facts:
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I

 

Claim Il:

 

 

Supporting Facts: |

D._ PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1. Have you begun other lawsuits in state or federal court dealing with the same facts involved in this

action or otherwise relating to the conditions of your imprisonment? Yes $<" No. If your answer —
is "Yes," describe each lawsuit. (If there is more than one lawsuit, describe the additional lawsuits
using this same format on a blank sheet which you should label "E. PREVIOUS LAWSUITS AND

ADMINISTRATIVE RELIEF .") .

a. Parties to previous lawsuit:
Plaintiff(s): u/ By

Defendant(s):

 

b. Name and location of court and docket number

 

c. Disposition of lawsuit. (For example, was the case dismissed? Was it appealed?
[s it still pending?)

 

d. Issues raised:

 

e. Approximate date of filing lawsuit:

 

f. Approximate date of disposition:

 

2. I previously have sought informal or formal relief from the appropriate administrative officials

ame

regarding the acts complained of in Part D. <__Yes No.
If your answer is "Yes," briefly describe how relief was sought and the results.
LK Bled complaint #Orevances and farerully addressed Me

issues oad shill Nothing as been ‘doae .
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‘3. [have exhausted available administrative remedies. >< Yes No. If your answer is "Yes,"
briefly explain the steps taken. Attach proof of exhaustion. If. your answer is "No," briefly explain

why administrative remedies were not exhausted. , 4
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E. PREVIOUSLY DISMISSED ACTIONS OR APPEALS

1. If you are proceeding under 28 U.S.C. § 1915, please list each civil action or appeal you have
brought in a court of the United States while you were incarcerated or detained in any facility that was
dismissed as frivolous, malicious, or for failure to state a claim upon which relief-may be granted. ©
Please describe each civil action or appeal. Jf there is more than one civil action or appeal, describe
the additional civil actions or appeals using this same format on a blank sheet which you should label

"F, PREVIOUSLY DISMISSED ACTIONS OR APPEALS.”

Parties to previous lawsuit:

Plaintiff(s): N OU

fp

Defendant(s):

 

b. Name and location of court and docket number

 

ce. Grounds for dismissal: () frivolous ( ) malicious () failure to state a claim upon which relief may
be granted. ,

 

d. Approximate date of filing lawsuit:

e. Approximate date of disposition:

 

2. Are you in imminent danger of serious physical injury? ><“ Yes No. [If your answer is
"Yes," please describe the facts in detail below without citing legal authority or argument.
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Case 6:06-cv-01004-BB-WPL Document1 Filed 10/17/06 Page 7 of 8
| .

G. REQUEST FOR RELIEF

I request the following relief:

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deems Proper.

Prisoner’s Original Signature Original signature of attorney (if any)

 

 

 

Attomey’s full address and telephone

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is the plaintiff in the above
action, that he/she has read the above complaint and that the information contained in the
complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621. .

Executed at aur Fe A V \ on Oc. by. ZODb

(location) (date)

Prisony’s Original Signature

 
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